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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

   ERIC & CO TRADING GROUP LLC,                                  CASE NO.: 23-CV-20045-RKA

          Judgment Creditor,

   v.

   FLOYD MAYWEATHER, JR.,

          Judgment Debtor.

   and

   JP MORGAN CHASE BANK, N.A. and
   ENHANCE HEALTH LLC,

         Garnishees.
   ___________________________________/

                                     WRIT OF GARNISHMENT

   THE STATE OF FLORIDA:

   To Each Sheriff of the State:

          YOU ARE COMMANDED to summon the garnishee, ENHANCE HEALTH LLC, c/o

   Corporate Service Company, Registered Agent 1201 Hays Street, Tallahassee, Florida

   32301, to serve an answer to this writ on Judgment Creditor’s attorney, whose address is Zachary

   P. Hyman, Esq., Millennial Law, 501 E. Las Olas Blvd, Suite 200/314, Fort Lauderdale, Florida

   33301 within 20 days after service on the garnishee, exclusive of the day of service, and to file the

   original with the clerk of this court either before service on the attorney or immediately thereafter,

   stating whether the garnishee is indebted to Judgment Debtor, ERIC & CO TRADING GROUP

   LLC, at the time of the answer or was indebted at the time of service of the writ, or at any time

   between such times, and in what sum and what tangible and intangible personal property of the

   Judgment Debtor the Garnishee is in possession or control of at the time of the answer or had at
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   the time of service of this writ, or at any time between such times, and whether the garnishee knows

   of any other person indebted to the defendant or who may be in possession or control of any of the

   property of the Judgment Debtor. The amount set in plaintiff’s motion is the sum of $1,168,650.00,

   plus prejudgment interest of $111,551.32 and post-judgment interest, attorneys’ fees and costs in

   the amount of $8,576 remains due and unpaid on the Judgment.


           DATED:


                                                 ANGELA E. NOBLE
                                                 CLERK OF COURT


                                                 By: _________________________________
                                                    As Deputy Clerk

   Copies furnished to:
   Zachary P Hyman, Esq.
   zach@millenniallaw.com
   jessica@millenniallaw.com
   assistant@millenniallaw.com
   millenniallawforms@gmail.com

   Floyd Mayweather, Jr.
   288 South Coconut Lane
   Miami Beach, Florida 33139
